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88 44 (Rev, 11/04) APPENDIX

local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use 0

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CIVIL COVER SHEET

‘ye JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other pepers as required by law, except as provided
1

ine civil docket sheet, (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

iL.

é Clerk of Court forthe purpose of mitiating

I. (a) PLAINTIFFS

MYBRITT HARRIS,

(b) County of Residence of First Listed Plaintit? = E L PASO, CO
: (EXCEPT IN U.S. PLAINTIFF CASES}

(c} Attorney’s (Firm Name, Address, and Telephone Number)

SEE ATTACHED

Attormeys (17 Known)

DEFENDANTS GCA SERVICES GROUP, INC.,

GCA. SERVICES GROUP OF COLORADO, INC., f/d/b/a
CLOLA ENTERPRISES, INC., |
County of Residence of First Listed Defendant
(IN U.S. PLAINTIFF CASES ONLY)

NOTE; INLAND CONDEMNATION CASES, USE THE LOCATION OF THE
LAND INVOLVED.

_OHIO {Cuyahoga

County)

YI. CAUSE OF ACTION

4é U.S.C.

Cite the U.S. Civil saga under which ve are filing (Do not cite jurisdictional statutes unless diversity):

Erief description of cause:
Racial Discrimination

VOL. REQUESTED IN L} CHECK IF THIS IS A CLASS ACTION DEMAND § CHECK YES only if demanded in complaint:
COMPLAINT: UNDERFRCP.23 | re JURY DEMAND: Alves (CINo
DATE August 14 5 7008 SIGNATURE OF ATTORNEY OF
Ken
__JR OFFICE USE ONLY
RECEIPT # AMOUNT APPLYING IFP

MAG, JUDGE

I. BASIS OF JURISDICTION (Place an "X" in One Box Only) I. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
: (For Diversity Cases Only) and One Box for Defendant)
O1 — U.S. Government x, Federa} Question PIF DEF PIF DEF
Plain (1.8. Goverment Not a Party) Citizen of This State 11° 1  Incomoreted or Principal Place Oo4 O4
of Business In This State ,
O2 US. Govemment 0 4 - Diversity Citizen of Another State M2 O 2 Incorporated avd Principal Place os 05
Defendant (Indicate Citizenship of Parties in Jie TI) of Business In Another State
Citizen or Subject of a Os © 3 Foreign Nation Oeé O46
Foreign Country ‘
TV. NATURE OF SUIT (Place an *X" in One Box Only)
CONTRACT eer pee tes PORTS 8 ye ey | FORFEIT URW PENALTY "BANKRUPTCY =] 7)“: OTHER STATUTES :
0 110Insurance PERSONAL INJURY PERSONALINIURY | (1 619 Agriculuure 1 422 Appeal 28 USC 158 1 400 State Reapportionment
07 120 Marine G 310 Airplane O) 362 Personal Injury - O 620 Other Food & Ding 0 423 Withdrawal CO) 410 Antitrost
1 130 Miller Act 0 315 Airplane Product Med. Malpractice OF 625 Drug Related Seizure 28 USC 157 © 430 Ranks and Banking
1 140 Negotiable Insirument Liability O 365 Personal Injury - of Property 2] USC 881 1 450 Commerce
0) 150 Recovery af Overpayment | 320 Assault, Libel & Product Liability 1 630 Liquor Laws -sPROPERTY:RIGHTS:":] 1 460 Deportation
& Enforcement of Judgment Slander O 368 Asbestos Personal | 640 RR. & Truck C] 829 Copyrights C2 #470 Racketeer Influenced and
4151 Medicare Act OO 330 Federal Employers’ Injury Product C] 650 Airline Regs. C] 830 Patent Cormupt Organizations
__. 152 Recovery of Defaulted Liahility Liability O) 660 Occupational O 840 Trademark G 480 Consumer Credit
Student Loans O 340 Marine PERSONAL PROPERTY Safety/Health ( 490 Cable/Sat TV
(Excl. Veterans) 0 345 Marine Product (1 370 Other Fraud 690 Other OF 810 Selective Service
07 153 Recovery of Overpayment Liability (1 371 Truth in Lending es ABOR 2 SOCIAL SECURITY: ] D0 850 Securities/Commodities/
of Veteran’s Benefits O 350 Motor Vehicle CG 380 Other Personal J 710 Fair Labor Standards OD 861 BIA (1395 Exchange
0 160 Stockholders’ Suits 0 345 Motor Vehicle Property Damage Act CO 862 Black Lung (923) 0 875 Customer Challenge
1 190 Other Contract Product Liability 1) 385 Property Damage O 720 Labor/Mgmt. Relations |0) 863 DIWC/DIWW (403(g)) 12 USC 3410
0 195 Contrast Product Liability | 360 Other Personal Product Liability C7 730 Labor/MgmtReporting [1] &64 SSID Title XVI 0 890 Other Statutory Actions
07 196 Franchise Injury . & Disclosure Act : (7 865 RS1(405(e)) OC) 891 Agricultural Acts
ait SREAL PROPEREY ce! )ee- CIVIL RIGHTS | 2). 'i| <PRISONER PETITIONS «| 7 740 Railway Labor Act ‘EDERAL TAX SUITS :, ‘| 892 Economic Stabilization Act
C7 210 Land Condemnation O 44) Voting O) 510 Motions to Vacate | 790 Other Labor Litigation | 0) 870 Taxes (U.S. Plaintiff OO 893 Environmental Matters
0 220 Foreclosure 442 Employment Sentence O 79) Empl. Ret. Inc. or Defendant) O 894 Energy Allocation Act
0 230 Rent Lease & Ejectment 443 Housing/ Habess Corpus: Security Act O87! IRS—Third Party G 895 Freedom of Information
©) 240 Torts to Land Accomunodations O 530 General 26 USC 7609 Act
0 245 Tort Product Liability O 444 Welfare CO $35 Death Penalty O 900Appeal of Fee Determination
OF 290 All Other Real Property 0 445 Amer. w/Disabilities - 10) 540 Mandamms & Other Under Equal Access
Employment O 550 Civil Rights -to Justice
0 446 Amer. w/Disabilities - | 555 Prison Condition OF 950 Constitutionality of
Other State Statutes
O 440 Other Civil Rights
Y, ORIGIN {Place an “X” in One Box Only} Appeal to District
mh . o2 C3 a... os Transferred from 6 oo. o7 Judge from
Original Removed from Remanded from Reinstated or another district Multidistrict Magistrate.
Proceeding State Court Appellate Court Reopened (specify) Litigation Judgment

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Attachment to Civil Cover Sheet

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